
THE COURT.
Defendant was tried on an information jointly charging him and one William Baumgartner and one Julian Rhew with violating sepulture. The facts in this case are the same as were presented in People v. Baumgartner, ante, *76p. 72. Defendant was convicted, and appeals from the judgment of conviction and from the order denying his motion for a new trial. The question as to the proper construction to be given the word “disinter,” as found in section 290 of the Penal Code, arises in this case as it did in People v. Baumgartner; the same instruction was given by the court which was held to be error in People v. Baumgartner. The two eases can be distinguished neither in their facts nor in the questions of law presented. Upon the authority of People v. Baumgartner, the judgment of conviction is reversed.
